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             Exhibit "H"

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FD-674a (7-24-2017)




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DATE /2. / |3- /II                                                               SraHf         *§   ^ ;


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CASE ID                                -AL- ZJlQ tS 3SL
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PHOTOGRAPHER                             •f>rv A^evj ^J^VcL
LOCATION                          !HH                       Sfc.
                                 Case 1:20-cr-00335-TJM Document 45-3 Filed 01/29/21 Page 3 of 4

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     DATE                            (7                                                   CASE ID
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     LOCATION                /fry     M                                                                 AfjT
     CAMERA TYPE .                                                                        CARD#                                                                                '
                                                       SA W&ftc.
     PREPARER/PHOTOGRAPHER

    REMARKS



                                                                                                    Use
    Photo#                  Subject (Circle One)                                  Range    -                                          Description
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    25          Entry / Exit / Qttifer /@mjg)                            Long / Med / Close                 P^oOyy\ <&»
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     DATE                        ,                            7r~n                       CASE ID-ft
     LOCATION                   /W^                          Af\- 'SU                    AktJ                    AtY                                  l


     CAMERA TYPE                                                    .            _       CARD#

     PREPARER/PHOTOGRAPHER ^
     REMARKS




    Photo #                                                                                         Use
                        Subject (Circle One)                                    Range                                      Description
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      \ Entry / Exit / Other / items#                             Long / Me'dv/ Cldse
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